                                            Exhibit 6B
                             Excerpts of Deposition of Kevyn D. Orr




6A Kenneth Buckfire Cover sheet.doc
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City of Detroit                                                                                        August 30, 2013
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 1 Q. Your view of those legacy expenditures in the             1 Q. Okay. So I think there -- if I'm not mistaken, your
 2 bankruptcy is that they are unsecured claims, correct?       2 father was an amen minister.
 3 A. Yes. Many of them are, yes. There are some                3 A. Great grandfather, grandfather and father.
 4 expenditures that are secured with regard to the water       4 Q. So maybe --
 5 department and parking and some miscellaneous, but the       5 A. Yeah, took me back to -- over in the corner with the
 6 roughly 11 and a half, 12 billion dollars that we put        6 deacons, yeah, took me back.
 7 out there we view as unsecured.                              7 Q. Okay. I won't compare myself to your father,
 8 Q. So let's go back to sourcing this termination payment.    8 grandfather and great grandfather, but I can aspire.
 9 A. Yes.                                                      9 A. Yeah.
10 Q. It was my understanding of his testimony that            10 Q. So I do want to talk about -- this is important.
11 Mr. Buckfire who, by the way, is the individual tasked      11 Okay. This is -- isn't it true that one aspect of the
12 with obtaining the City's post petition financing,          12 DIP -- I'm not going to get into the others -- is that
13 correct?                                                    13 the casino revenues will be pledged or anticipated to
14 A. Yes.                                                     14 be pledged as collateral for the post petition
15 Q. And is presumably the individual that's most             15 financing?
16 knowledgeable about that effort?                            16 A. Let me say this. That is certainly under
17 A. Yes.                                                     17 consideration.
18 Q. It was -- I'll represent to you that his testimony was   18 Q. Okay. Now, isn't it also true, though, that the
19 that the proceeds for the optional termination payment      19 casino revenues have not currently been freed up on a
20 would likely come from the post -- the proceeds of the      20 permanent basis because the City has not currently
21 post petition financing?                                    21 exercised the option, correct?
22 A. Yes.                                                     22 A. The certainty that we hope to get out of the
23    MR. JURGENS: Objection to form.                          23 forbearance agreement has not been approved yet,
24    BY MR. HACKNEY:                                          24 correct.
25 Q. Is that also your understanding?                         25 Q. Well, even if it is approved by the Court, you still


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 1 A. Yes.                                                      1 won't have exercised the option.
 2 Q. Okay. Now, isn't it also true that the City hopes to      2 A. That is true with regard to the optional termination
 3 pledge the casino revenues as part of the collateral         3 payment.
 4 package for the post petition financing?                     4 Q. Right.
 5    MR. SHUMAKER: I'm going to object here.                   5 A. Yes.
 6 We're getting into an area where it is incredibly            6 Q. And you need to exercise the option to terminate the
 7 commercially sensitive as to what sort of post               7 hedge, right?
 8 petition financing that the City is seeking.                 8 A. Yes.
 9    MR. HACKNEY: Let me not be rude. I will                   9 Q. You need to terminate the hedge to terminate the
10 tell you I'm just going to ask him questions that           10 collateral agreement.
11 Buckfire asked yesterday -- answered. So I'm not            11 A. I think that's --
12 going to try and play the whole thing, but there were       12    MR. SHUMAKER: Object to form, to the
13 absolutely areas where Buckfire answered. I think           13 extent calls for a legal conclusion.
14 there were a lot of other people in the room that were      14 A. Yeah, without getting into legal conclusions --
15 there. I think any of your colleagues --                    15    COURT REPORTER: I'm sorry. This is --
16    MR. SHUMAKER: Okay, that's fine.                         16    BY MR. HACKNEY:
17    MR. HACKNEY: Any of your colleagues.                     17 Q. You think it's a fair characterization that you need
18    MR. SHUMAKER: I just want to caution you.                18 to get the hedge terminated to get the collateral
19    MR. HACKNEY: I understand. I understand                  19 agreement terminated?
20 the sensitivity. There were absolutely areas, though,       20 A. Yes.
21 that Buckfire talked about. This was one of them. I         21 Q. And the good part for the City, if those things
22 mean can I get an Amen or --                                22 happen, is that now you have unchanneled access to the
23    (Consensus Amen.)                                        23 casino revenues going into the future?
24 A. Okay.                                                    24 A. Yes, as we've said today, that certainty is one of the
25    BY MR. HACKNEY:                                          25 motivations to enter into the agreement.


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 1 Q. But do you also understand that you can't currently       1 mislead you. It is my assumption that, while they're
 2 pledge the casino revenues to a post petition lender         2 commercially sensitive, that's not going to be
 3 in a -- prior to having exercised the option under the       3 forthcoming.
 4 forbearance agreement?                                       4 Q. Oh, really?
 5 A. Well, let's be careful without drawing legal              5 A. Yes.
 6 conclusions. You can always enter into agreements            6 Q. So just to tie it up, you tried to get a -- whether
 7 that have contingencies attached to them and the             7 it's credit enhancement or liquidity from the State
 8 parties will wait for those contingencies to occur.          8 and the Feds, and your expectation is that you won't
 9 That certainly has happened with a number of different       9 be able to?
10 negotiations, not just in this case, but happens all        10 A. My understanding at the State level is that there's
11 the time.                                                   11 certain prohibitions of the State law on the ability
12 Q. That's fair that you absolutely -- you make a pledge     12 of the State to lend to the City, and at the Federal
13 that's contingent on something else. But isn't it           13 level my understanding is that it's not going to be
14 true that, as a general matter, post petition lenders       14 forthcoming, direct aid.
15 typically like to make sure that they have clean            15 Q. Interesting. And what about credit enhancement by the
16 collateral before they make a loan that's secured by        16 State?
17 that collateral?                                            17 A. Here again, it's highly commercially insensitive --
18    MR. SHUMAKER: Objection, calls for                       18 sensitive. I don't want to say anything that
19 speculation.                                                19 forecloses it, but we -- let me answer it this way.
20 A. I think that's generally a fair characterization;        20 We are operating on the assumption that that will not
21 however, there have been cases that I've been involved      21 come -- be forthcoming.
22 with outside of this one where post petition lenders        22 Q. The casino revenues are about 170 million dollars a
23 have been willing to make pledges or commitments            23 year; isn't that correct?
24 subject to certain contingencies.                           24 A. Yeah, 170, 180 somewhere in there.
25    BY MR. HACKNEY:                                          25 Q. Yeah. In fact, that -- it's interesting because the


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 1 Q. Isn't it your expectation today, though -- is it -- is    1 DIP proceeds you're seeking are up to 350; is that
 2 it your expectation today that any post petition             2 correct?
 3 lender will want clear -- a clear lien on the casino         3 A. Here again, those are commercially sensitive, but I
 4 revenues before it's willing to lend? Is that your           4 think that's fair. Yes, I think that's fair.
 5 current expectation?                                         5 Q. Okay. And that's the equivalent of two years' worth
 6 A. Well, my current expectation is it might well want        6 of casino revenues, correct?
 7 clear lien before it's willing to fund. I would think        7 A. Yes.
 8 in many of the bankruptcy cases that I've been               8 Q. Okay. And that's something that you think you may be
 9 involved in, post petition lenders, for instance, are        9 able to get without having to pledge a clear lien on
10 willing to make commitments subject to the Court            10 the casino revenues, right?
11 approving their super priority liens, and then once         11 A. No. What I'm trying to say is you can certainly enter
12 that approval is granted, they fund the loan, so            12 into commitments. I'm drawing commitments different
13 that's fairly common.                                       13 from funding. You can certainly have a lender which
14 Q. I'm going to confirm for the record that conversations   14 is quite common in bankruptcy cases to make a
15 with the State of Michigan about providing DIP              15 commitment subject to approval of its security
16 financing or with the federal government about              16 interest or priorities to actually fund.
17 providing DIP financing are still questions that you        17 Q. Okay.
18 will refuse to answer on the grounds of commercial          18 A. So that can occur.
19 sensitivity?                                                19 Q. So the fact that that can occur means that there can
20     MR. SHUMAKER: I think you can ask Mr. Orr               20 be uncertainty in connection with the casino revenues
21 those questions. I don't want to -- I don't want to         21 and it won't hamstring your DIP process, correct?
22 categorically exclude you from doing that.                  22 A. Yeah, it's not so much -- well, to a degree what
23     BY MR. HACKNEY:                                         23 you're saying is correct. It's not so much
24 Q. Are they commercially sensitive?                         24 uncertainty with casino revenues because that's math.
25 A. They are commercially sensitive, but I don't want to     25 It may be some uncertainty with regard to the ability


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